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 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-454-GEB
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     JOSEPH ANDRADE,                                )       Date: April 4, 2014
                                                    )       Time: 9:00 a.m.
13
                                                    )       Judge: Honorable Garland E. Burrell, Jr.
                                                    )
14
            Defendant.                              )
                                                    )
15
                                                    )
16
            The parties hereby stipulate the following:
17

18          1. Judgment and sentencing in this matter is presently set for March 28, 2014. Counsel
19              for the parties request the date for judgment and sentencing be continued to
20              April 4, 2014, at 9:00 a.m. Counsel for Mr. Andrade needs additional time to
21              respond to information in the presentence report. Assistant U.S. Attorney Jill Thomas
22              and USPO Scott Storey have been advised of this request and have no objection. The
23              parties requests the Court adopt the following schedule pertaining to the presentence
24              report:
25
                Judgment and Sentencing date:                                       4/4/14
26
                Reply, or Statement of Non-Opposition:                              3/28/14
27

28
                Motion for Correction of the Presentence Report
                Shall be filed with the Court and served on the


                                                        1
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               Probation Officer and opposing counsel no later than:         3/21/14
 1

 2             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                       n/a
 3
               Counsel’s written objections to the Presentence Report
 4
               Shall be delivered to the probation officer and opposing
 5             Counsel no later than:                                        n/a

 6             The Presentence Report shall be filed with the Court
 7
               And disclosed to counsel no later than:                       n/a

 8

 9

10
     IT IS SO STIPULATED.

11

12
     Dated: March 12, 2014                                     /s/ John R. Manning
13                                                             JOHN R. MANNING
                                                               Attorney for Defendant
14                                                             Joseph Andrade
15

16   Dated: March 12, 2014                                     Benjamin B. Wagner
                                                               United States Attorney
17
                                                        by:    /s/ Jill Thomas
18
                                                               JILL THOMAS
19                                                             Assistant U.S. Attorney

20                                              ORDER

21
           IT IS SO FOUND AND ORDERED.
22
     Dated: March 13, 2014
23

24

25

26

27

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                                                    2
